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                           EXHIBIT 46
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NEW ISSUE – BOOK-ENTRY ONLY
                                         $1,588,810,799.60
                                   Employees Retirement System
                      of the Government of the Commonwealth of Puerto Rico
                              Senior Pension Funding Bonds, Series A
         The Employees Retirement System of the Government of the Commonwealth of Puerto Rico (the “System”) is a trust
created by law in 1951 by the Legislature of the Commonwealth of Puerto Rico to provide pension and other benefits to retired
employees of the government of the Commonwealth and its instrumentalities. These benefits are funded by contributions made
monthly or twice a month to the System by the government of the Commonwealth and its instrumentalities (“Employer
Contributions”) and their employees, and by investment earnings. Government employers are currently required by law to make
Employer Contributions to the System of at least 9.275% of their covered payroll.

          The System has authorized the issuance of one or more series of bonds (the “Bonds”) in order to increase the funds
currently available to pay pension benefits to certain of its beneficiaries and reduce its unfunded accrued actuarial pension
liability. The System will pledge future Employer Contributions to the payment of the Bonds, invest the proceeds of the Bonds
and use these investments and the earnings thereon to provide such pension benefits to its beneficiaries. The Senior Pension
Funding Bonds, Series A (the “Series A Bonds”) are a series of Bonds being offered exclusively in the Commonwealth of Puerto
Rico. The System currently contemplates offering additional parity Bonds (the “Series B Bonds”) in other jurisdictions. The
Series B Bonds would be offered by means of one or more separate Official Statements and may not under any circumstances be
purchased by residents of Puerto Rico.

        The Bonds are limited, non-recourse obligations of the System payable solely from and secured solely by a pledge
of Employer Contributions made after the date of issuance of the Bonds. The Bonds are not payable from the investments
made by the System with the proceeds of the Bonds or from any other assets of the System, or from employee
contributions to the System. The Bonds are not an obligation of the Commonwealth of Puerto Rico or any of its other
instrumentalities or political subdivisions.

         The Series A Bonds will be registered under the Depository Trust Company’s book-entry only system, and will be issued
without coupons, in denominations of $5,000 principal amount (maturity amount in the case of the Capital Appreciation Bonds)
and integral multiples thereof. Purchasers of the Series A Bonds will not receive bond certificates.

         The Series A Bonds will be offered as Term Bonds and Capital Appreciation Bonds. Interest on the Term Bonds will be
payable monthly on the first day of each month, commencing on March 1, 2008. Interest on the Capital Appreciation Bonds will
compound semiannually on each January 1 and July 1, commencing on July 1, 2008 and will be payable at maturity or
redemption. The inside cover page of this Official Statement contains information on the maturities, interest rates and prices or
yields of the Series A Bonds. The Series A Bonds may be redeemed by the System, commencing on July 1, 2018, as described
herein.

         Interest on the Series A Bonds is not excludable from the gross income of the recipients thereof under Section 103(a) of
the United States Internal Revenue Code of 1986, as amended. Interest on the Series A Bonds is exempt from Puerto Rico income
and property taxes. See “Tax Matters” beginning on page 44.

        The System expects that the Series A Bonds will be available for delivery to DTC on or about January 31, 2008.

Investing in the Series A Bonds involves risks. See “Investment Considerations” beginning on page 23 of this Official
Statement for a discussion of certain factors that should be considered by prospective purchasers in evaluating an
investment in the Series A Bonds.

                             UBS Financial Services Incorporated of Puerto Rico
Popular Securities                                                                                     Santander Securities
BBVAPR MSD                                                  Citi                                          Lehman Brothers
Merrill Lynch & Co.                         Oriental Financial Services Corporation           Samuel A. Ramírez & Co., Inc.
Scotia Capital                                          TCM Capital                          Wachovia Capital Markets, LLC

January 29, 2008
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           The Legislature of the Commonwealth could reduce the Employer Contribution rate or make
  other changes in existing law that adversely affect the amount of Employer Contributions. The Bonds
  are being issued pursuant to general authority contained in the Act, which does not include any covenant
  by the Legislature of the Commonwealth not to amend the Act in a way adverse to Bondholders. In
  addition, as is the case in many other jurisdictions, the Constitution of Puerto Rico does not contain
  provisions that expressly prohibit the Legislature from amending the Employer Contribution requirements
  under the Act. Therefore, the Legislature could make changes to the Act that are adverse to the
  Bondholders, including reducing the rate at which participating Government Employers are required to
  contribute to the System. If any such change is made, the ability of the System to pay debt service on
  Bonds when due could be adversely affected. It is impossible to predict at this time the conditions that
  could cause the Legislature of Puerto Rico to reduce the Employer Contribution rate, but those conditions
  could include situations (i) where the System’s unfunded accrued liability has been reduced or eliminated,
  which could lead the Legislature to the conclusion (if it did not take into consideration the need to pay the
  Bonds) that additional Employer Contributions are not required, or (ii) where there is severe financial
  stress affecting one or more of the Government Employers.

  Public Debt of the Commonwealth Must be Paid Before Employer Contributions of Central
  Government Agencies and Departments

            The Constitution of Puerto Rico provides that in the event the Commonwealth has insufficient
  funds to pay all approved appropriations, the available resources of the Commonwealth shall be used to
  pay public debt before being used for other purposes. Public debt, which as of September 30, 2007
  amounted to $44.4 billion, includes $8.1 billion in bonds and notes of the Commonwealth to which the
  full faith, credit and taxing power of the Commonwealth are pledged, and, according to opinions rendered
  by the Secretary of Justice of the Commonwealth, any payments which are required to be made by the
  Commonwealth under its guarantees of bonds and notes issued by its public corporations, which total
  $3.9 billion. The Bonds do not constitute public debt. This Constitutional restriction does not apply to
  Employer Contributions made by public corporations and municipalities, because the funds of public
  corporations and municipalities are not “available resources” of the Commonwealth.

  The Remedies that the Fiscal Agent May Pursue May be Limited

          The remedies available to the Fiscal Agent and the holders of the Bonds upon an Event of Default
  do not include the right to declare all amounts immediately due and payable and are in many respects
  dependent upon regulatory and judicial actions which are often subject to discretion and delay. Such
  remedies may also not be readily available or may be limited, and the legal opinions rendered in
  connection with this financing will be qualified to the extent that enforceability of provisions of the
  Bonds and the Resolution are affected by such limitations, including as such enforceability may be
  limited by insolvency or other laws generally affecting creditors’ rights.

  A redemption may adversely affect the return of bondholders on the Bonds

         The System may choose to redeem some or all of the Series A Bonds, or some Series A Bonds
  may be redeemed to satisfy sinking fund requirements, at times when prevailing interest rates are lower
  than when the Series A Bonds were issued. If this happens, Bondholders may not be able to reinvest the
  proceeds received in a comparable security at an effective interest rate as high as that of the Bonds.




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                    SECURITY AND SOURCES OF PAYMENT FOR THE BONDS

          The following summary is qualified by reference to the General Resolution and the Supplemental
  Resolution, copies of which are set forth in Appendices VI and VII, respectively.

  Bonds are Limited, Non-Recourse Obligations of the System

          The Bonds are limited, non-recourse obligations of the System, payable solely from and secured
  solely by Employer Contributions made after the date of issuance of the Bonds and funds on deposit with
  the Fiscal Agent in the various accounts established thereunder. The Bonds are not general obligations of
  the System and are not payable from contributions made to the System by participating employees, or
  from the assets acquired with the proceeds of the Bonds, or from Employer Contributions released by the
  Fiscal Agent to the System after funding of required reserves, or from any other assets of the System.
  The Bonds are not obligations, general, special or otherwise, of the Commonwealth, do not constitute a
  debt of the Commonwealth or any of its other political subdivisions or instrumentalities, and are not
  payable out of any moneys of the Commonwealth other than future Employer Contributions.

          The Employer Contributions are those contributions that Government Employers must contribute
  to the System pursuant to the Act. The Act requires that Employer Contributions cover the difference
  between (i) the benefits provided by the System to its beneficiaries, plus administrative costs, and (ii) the
  contributions that employees are required to make to the System. The Act further provides that the
  employers must contribute every year at least 9.275% of the wages and salaries paid to their employees.

  The Legislature of the Commonwealth could reduce the Employer Contribution rate or make other
  changes in existing law that adversely affect the amount of Employer Contributions; Safeguards for
  Payment of Employer Contributions to the System

           The Bonds are being issued pursuant to general authority contained in the Act, which does not
  include any covenant by the Legislature of the Commonwealth not to amend the Act in a way adverse to
  Bondholders. In addition, as is the case in many other jurisdictions, the Constitution of Puerto Rico does
  not contain provisions that expressly prohibit the Legislature from amending the Employer Contribution
  requirements under the Act. Therefore, the Legislature could make changes to the Act that are adverse to
  the Bondholders, including reducing the rate at which participating Government Employers are required
  to contribute to the System. If any such change is made, the ability of the System to pay debt service on
  Bonds when due could be adversely affected.




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NEW ISSUE – BOOK-ENTRY ONLY
                                        $1,058,634,613.05
                                  Employees Retirement System
                      of the Government of the Commonwealth of Puerto Rico
                              Senior Pension Funding Bonds, Series B
         The Employees Retirement System of the Government of the Commonwealth of Puerto Rico (the “System”) is a trust
created by law in 1951 by the Legislature of the Commonwealth of Puerto Rico to provide pension and other benefits to retired
employees of the government of the Commonwealth and its instrumentalities. These benefits are funded by contributions made
monthly or twice a month to the System by the government of the Commonwealth and its instrumentalities (“Employer
Contributions”) and their employees, and by investment earnings. Government employers are currently required by law to make
Employer Contributions to the System of at least 9.275% of their covered payroll.

          The System has authorized the issuance of one or more series of bonds (the “Bonds”) in order to increase the funds
currently available to pay pension benefits to certain of its beneficiaries and reduce its unfunded accrued actuarial pension
liability. On January 31, 2008, the System issued the first such series of Bonds, which consisted of $1,588,810,799.60 aggregate
principal amount of Senior Pension Funding Bonds, Series A (the “Series A Bonds”). The System is now offering its Senior
Pension Funding Bonds, Series B (the “Series B Bonds”). The System has pledged all Employer Contributions made after the
date of issuance of the Series A Bonds to the payment of the Bonds. The System will invest the proceeds of the Bonds and use
these investments and the earnings thereon to provide pension benefits to its beneficiaries.

        The Bonds are limited, non-recourse obligations of the System payable solely from and secured solely by a pledge
of Employer Contributions made after the date of issuance of the Bonds. The Bonds are not payable from the investments
made by the System with the proceeds of the Bonds or from any other assets of the System, or from employee
contributions to the System. The Bonds are not an obligation of the Commonwealth of Puerto Rico or any of its other
instrumentalities or political subdivisions.

         The Series B Bonds will be registered under the Depository Trust Company’s book-entry only system, and will be issued
without coupons, in denominations of $5,000 principal amount (maturity amount in the case of the Capital Appreciation Bonds)
and integral multiples thereof. Purchasers of the Series B Bonds will not receive bond certificates.

         The Series B Bonds will be offered as Term Bonds and Capital Appreciation Bonds. Interest on the Term Bonds will be
payable monthly on the first day of each month, commencing on July 1, 2008. Interest on the Capital Appreciation Bonds will
compound semiannually on each January 1 and July 1, commencing on July 1, 2008 and will be payable at maturity or
redemption. The inside cover page of this Official Statement contains information on the maturities, interest rates and prices or
yields of the Series B Bonds. The Series B Bonds may be redeemed by the System, commencing on July 1, 2018, as described
herein.

         Interest on the Series B Bonds is not excludable from the gross income of the recipients thereof under Section 103(a) of
the United States Internal Revenue Code of 1986, as amended. Interest on the Series B Bonds is exempt from Puerto Rico income
and property taxes. See “Tax Matters” beginning on page 45.

        The System expects that the Series B Bonds will be available for delivery to DTC on or about June 2, 2008.

Investing in the Series B Bonds involves risks. See “Investment Considerations” beginning on page 22 of this Official
Statement for a discussion of certain factors that should be considered by prospective purchasers in evaluating an
investment in the Series B Bonds.

                             UBS Financial Services Incorporated of Puerto Rico

Santander Securities                                                                                 Popular Securities

May 28, 2008
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 differential is eliminated over the next ten years. In this scenario, covered payroll reaches only $33.6
 billion in fiscal year 2059, instead of the $39.5 billion projected by the base case scenario.

          The population of Puerto Rico may not increase as projected. One of the components of the
 projected growth of employment in the ERS participating sector is population growth. The Global Insight
 model assumes in its projections that the population of Puerto Rico will increase from approximately 3.9
 million in 2007 to approximately 4.3 million by 2059, an increase of 0.2% per year. If the population of
 Puerto Rico does not grow as projected, the number of government employees, and as a result covered
 payroll, may not grow as projected. Puerto Rico already has over 1,000 inhabitants per square mile, one
 of the highest population densities in the world. Most residents of Puerto Rico are United States citizens
 by birth and hence have unrestricted access to the United States mainland. As a result, the population of
 Puerto Rico may not grow as projected or may decrease, which could result in lower government
 employment and hence in lower Employer Contributions.

         Government revenues may decrease, resulting in forced reductions in payroll; there may be a
 reduction in the demand for government services, or in the number of people required to provide these
 services. The tax and other revenues of the government of Puerto Rico may decrease for a number of
 reasons, including a reduction in tax rates as a result of taxpayer pressure leading to legislative action or
 otherwise, other reasons related to the factors discussed above, and other reasons that may not be
 anticipated, particularly considering the 50-year term of the Bonds. Any such reduction could eventually
 require a reduction in government expenses, including payroll expenses, which represent a significant
 percentage of government expenses in Puerto Rico. In addition, the demand for many of the services
 currently provided by the government may decrease, or an increase in employee productivity may make it
 possible to provide the same services with fewer employees. If any of these things happen, government
 employment and government payroll may be lower than projected, and hence there could be lower
 Employer Contributions than projected to pay debt service on the Bonds.

          The Legislature of the Commonwealth could reduce the Employer Contribution rate or make
 other changes in existing law that adversely affect the amount of Employer Contributions. The Bonds
 are being issued pursuant to general authority contained in the Act, which does not include any covenant
 by the Legislature of the Commonwealth not to amend the Act in a way adverse to Bondholders. In
 addition, as is the case in many other jurisdictions, the Constitution of Puerto Rico does not contain
 provisions that expressly prohibit the Legislature from amending the Employer Contribution requirements
 under the Act. Therefore, the Legislature could make changes to the Act that are adverse to the
 Bondholders, including reducing the rate at which participating Government Employers are required to
 contribute to the System. If any such change is made, the ability of the System to pay debt service on
 Bonds when due could be adversely affected. It is impossible to predict at this time the conditions that
 could cause the Legislature of Puerto Rico to reduce the Employer Contribution rate, but those conditions
 could include situations (i) where the System’s unfunded accrued liability has been reduced or eliminated,
 which could lead the Legislature to the conclusion (if it did not take into consideration the need to pay the
 Bonds) that additional Employer Contributions are not required, or (ii) where there is severe financial
 stress affecting one or more of the Government Employers.




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                   SECURITY AND SOURCES OF PAYMENT FOR THE BONDS

         The following summary is qualified by reference to the General Resolution and the Supplemental
 Resolution, copies of which are set forth in Appendices V and VI, respectively.

 Bonds are Limited, Non-Recourse Obligations of the System

          The Bonds are limited, non-recourse obligations of the System, payable solely from and secured
 solely by Employer Contributions made after January 31, 2008, which was the date of issuance of the first
 series of Bonds, and funds on deposit with the Fiscal Agent in the various accounts established under the
 Resolution. The Bonds are not general obligations of the System and are not payable from contributions
 made to the System by participating employees, or from the assets acquired with the proceeds of the
 Bonds, or from Employer Contributions released by the Fiscal Agent to the System after funding of
 required reserves, or from any other assets of the System. The Bonds are not obligations, general, special
 or otherwise, of the Commonwealth, do not constitute a debt of the Commonwealth or any of its other
 political subdivisions or instrumentalities, and are not payable out of any moneys of the Commonwealth
 other than future Employer Contributions.

         The Employer Contributions are those contributions that Government Employers must contribute
 to the System pursuant to the Act. The Act requires that Employer Contributions cover the difference
 between (i) the benefits provided by the System to its beneficiaries, plus administrative costs, and (ii) the
 contributions that employees are required to make to the System. The Act further provides that the
 employers must contribute every year at least 9.275% of the wages and salaries paid to their employees.

 The Legislature of the Commonwealth could reduce the Employer Contribution rate or make other
 changes in existing law that adversely affect the amount of Employer Contributions; Safeguards for
 Payment of Employer Contributions to the System

          The Bonds are being issued pursuant to general authority contained in the Act, which does not
 include any covenant by the Legislature of the Commonwealth not to amend the Act in a way adverse to
 Bondholders. In addition, as is the case in many other jurisdictions, the Constitution of Puerto Rico does
 not contain provisions that expressly prohibit the Legislature from amending the Employer Contribution
 requirements under the Act. Therefore, the Legislature could make changes to the Act that are adverse to
 the Bondholders, including reducing the rate at which participating Government Employers are required
 to contribute to the System. If any such change is made, the ability of the System to pay debt service on
 Bonds when due could be adversely affected.




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NEW ISSUE – BOOK-ENTRY ONLY
                                        $300,202,930
                                Employees Retirement System
                   of the Government of the Commonwealth of Puerto Rico
                           Senior Pension Funding Bonds, Series C
          The Employees Retirement System of the Government of the Commonwealth of Puerto Rico (the “System”) is a
trust created by law in 1951 by the Legislature of the Commonwealth of Puerto Rico to provide pension and other benefits
to retired employees of the government of the Commonwealth and its instrumentalities. These benefits are funded by
contributions made monthly or twice a month to the System by the government of the Commonwealth and its
instrumentalities (“Employer Contributions”) and their employees, and by investment earnings. Government employers
are currently required by law to make Employer Contributions to the System of at least 9.275% of their covered payroll.

         The System has authorized the issuance of one or more series of bonds (the “Bonds”) in order to increase the
funds currently available to pay pension benefits to certain of its beneficiaries and reduce its unfunded accrued actuarial
pension liability. On January 31, 2008, the System issued the first such series of Bonds, which consisted of
$1,588,810,799.60 aggregate principal amount of Senior Pension Funding Bonds, Series A (the “Series A Bonds”). On
June 2, 2008, the System issued the second of such series of Bonds, which consisted of $1,058,634,613.05 aggregate
principal amount of Senior Pension Funding Bonds, Series B (the “Series B Bonds”). The System is now offering its
Senior Pension Funding Bonds, Series C (the “Series C Bonds”). The System has pledged all Employer Contributions
made after the date of issuance of the Series A Bonds to the payment of the Bonds. The System will invest the proceeds of
the Bonds and use these investments and the earnings thereon to provide pension benefits to its beneficiaries.

         The Bonds are limited, non-recourse obligations of the System payable solely from and secured solely by a
pledge of Employer Contributions made after the date of issuance of the Bonds. The Bonds are not payable from
the investments made by the System with the proceeds of the Bonds or from any other assets of the System, or from
employee contributions to the System. The Bonds are not an obligation of the Commonwealth of Puerto Rico or
any of its other instrumentalities or political subdivisions.

        The Series C Bonds will be registered under the Depository Trust Company’s book-entry only system, and will be
issued without coupons, in denominations of $5,000 principal amount (maturity amount in the case of the Capital
Appreciation Bonds) and integral multiples thereof. Purchasers of the Series C Bonds will not receive bond certificates.

         The Series C Bonds will be offered as Term Bonds and Capital Appreciation Bonds. Interest on the Term Bonds
will be payable monthly on the first day of each month, commencing on August 1, 2008. Interest on the Capital
Appreciation Bonds will compound semiannually on each January 1 and July 1, commencing on January 1, 2009 and will
be payable at maturity or redemption. The inside cover page of this Official Statement contains information on the
maturities, interest rates and prices or yields of the Series C Bonds. The Series C Bonds may be redeemed by the System,
commencing on July 1, 2018, as described herein.

        Interest on the Series C Bonds is not excludable from the gross income of the recipients thereof under Section
103(a) of the United States Internal Revenue Code of 1986, as amended. Interest on the Series C Bonds is exempt from
Puerto Rico income and property taxes. See “Tax Matters” beginning on page 46.

        The System expects that the Series C Bonds will be available for delivery to DTC on or about June 30, 2008.

Investing in the Series C Bonds involves risks. See “Investment Considerations” beginning on page 22 of this
Official Statement for a discussion of certain factors that should be considered by prospective purchasers in
evaluating an investment in the Series C Bonds.

                          UBS Financial Services Incorporated of Puerto Rico
Popular Securities                                                                                   Santander Securities
BBVAPR MSD                                                Citi                                              Eurobank MSD
Lehman Brothers                                      Merrill Lynch & Co.            Oriental Financial Services Corporation
Samuel A. Ramírez & Co., Inc.                        Scotia Capital                       Wachovia Capital Markets, LLC

June 26, 2008
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 differential is eliminated over the next ten years. In this scenario, covered payroll reaches only $33.6
 billion in fiscal year 2059, instead of the $39.5 billion projected by the base case scenario.

          The population of Puerto Rico may not increase as projected. One of the components of the
 projected growth of employment in the ERS participating sector is population growth. The Global Insight
 model assumes in its projections that the population of Puerto Rico will increase from approximately 3.9
 million in 2007 to approximately 4.3 million by 2059, an increase of 0.2% per year. If the population of
 Puerto Rico does not grow as projected, the number of government employees, and as a result covered
 payroll, may not grow as projected. Puerto Rico already has over 1,000 inhabitants per square mile, one
 of the highest population densities in the world. Most residents of Puerto Rico are United States citizens
 by birth and hence have unrestricted access to the United States mainland. As a result, the population of
 Puerto Rico may not grow as projected or may decrease, which could result in lower government
 employment and hence in lower Employer Contributions.

         Government revenues may decrease, resulting in forced reductions in payroll; there may be a
 reduction in the demand for government services, or in the number of people required to provide these
 services. The tax and other revenues of the government of Puerto Rico may decrease for a number of
 reasons, including a reduction in tax rates as a result of taxpayer pressure leading to legislative action or
 otherwise, other reasons related to the factors discussed above, and other reasons that may not be
 anticipated, particularly considering the 50-year term of the Bonds. Any such reduction could eventually
 require a reduction in government expenses, including payroll expenses, which represent a significant
 percentage of government expenses in Puerto Rico. In addition, the demand for many of the services
 currently provided by the government may decrease, or an increase in employee productivity may make it
 possible to provide the same services with fewer employees. If any of these things happen, government
 employment and government payroll may be lower than projected, and hence there could be lower
 Employer Contributions than projected to pay debt service on the Bonds.

          The Legislature of the Commonwealth could reduce the Employer Contribution rate or make
 other changes in existing law that adversely affect the amount of Employer Contributions. The Bonds
 are being issued pursuant to general authority contained in the Act, which does not include any covenant
 by the Legislature of the Commonwealth not to amend the Act in a way adverse to Bondholders. In
 addition, as is the case in many other jurisdictions, the Constitution of Puerto Rico does not contain
 provisions that expressly prohibit the Legislature from amending the Employer Contribution requirements
 under the Act. Therefore, the Legislature could make changes to the Act that are adverse to the
 Bondholders, including reducing the rate at which participating Government Employers are required to
 contribute to the System. If any such change is made, the ability of the System to pay debt service on
 Bonds when due could be adversely affected. It is impossible to predict at this time the conditions that
 could cause the Legislature of Puerto Rico to reduce the Employer Contribution rate, but those conditions
 could include situations (i) where the System’s unfunded accrued liability has been reduced or eliminated,
 which could lead the Legislature to the conclusion (if it did not take into consideration the need to pay the
 Bonds) that additional Employer Contributions are not required, or (ii) where there is severe financial
 stress affecting one or more of the Government Employers.




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 The Legislature of the Commonwealth could reduce the Employer Contribution rate or make other
 changes in existing law that adversely affect the amount of Employer Contributions; Safeguards for
 Payment of Employer Contributions to the System

          The Bonds are being issued pursuant to general authority contained in the Act, which does not
 include any covenant by the Legislature of the Commonwealth not to amend the Act in a way adverse to
 Bondholders. In addition, as is the case in many other jurisdictions, the Constitution of Puerto Rico does
 not contain provisions that expressly prohibit the Legislature from amending the Employer Contribution
 requirements under the Act. Therefore, the Legislature could make changes to the Act that are adverse to
 the Bondholders, including reducing the rate at which participating Government Employers are required
 to contribute to the System. If any such change is made, the ability of the System to pay debt service on
 Bonds when due could be adversely affected.

         The following factors may, however, provide some protection to Bondholders:

          ▪   In a 1987 case dealing with the retirement system of the University of Puerto Rico, the
 Puerto Rico Supreme Court ruled that government retirement system participants have a contractual
 vested right to their pension benefits on account of their employment and participation in the retirement
 system. The Court further ruled that as a result, the Legislature may not alter public employees’ pension
 rights unless the proposed amendments are reasonable and promote the actuarial solvency of the
 retirement system. In its decision, the Court upheld amendments that established a minimum retirement
 age, increased employee contributions, and reduced the pension benefits received by participants who
 retired before a certain age, because these were reasonable and necessary to save the actuarial solvency of
 the system, which at the time was in a “serious actuarial crisis.” Although the case dealt with the ability
 of the government to affect the retirement benefits and not with their funding or the rights of bondholders,
 and, therefore, Bondholders may not have standing under the holding of this case to challenge any
 proposed amendment to the Act that adversely affects Bondholders, Bondholders may benefit indirectly
 from the actions of System participants in the event the Legislature proposes to reduce Employer
 Contributions and System participants challenge such proposed reduction on the basis of the above ruling.

         ▪ The System is required under the Resolution to uphold, enforce and defend its rights to
 receive the current statutorily required Employer Contributions under the Act. If the Legislature attempts
 to decrease Employer Contributions, the System must use its best efforts to prevent the adoption of such
 decrease and to challenge in court legislation that reduces statutorily required Employer Contributions
 that the System feels is contrary to applicable law including, but not limited to, the Commonwealth’s
 Constitution and the rulings of the Puerto Rico Supreme Court.

         ▪ Although the Legislature is not legally required to take into account the System’s opposition
 to any proposed amendment to the Act, the Legislature has never taken any action that had the effect of
 impairing the ability of a Puerto Rico government instrumentality to pay its debt, and has always
 appropriated funds required to pay debt service, even if not legally obligated to do so.

        ▪ The Legislature has not reduced the Employer Contribution rate since 1960, and the last
 employer increase occurred in 1990, which contribution rate is still in effect.

         The Act provides the System with special powers to compel employers to make required
 contributions to the System. The System has the power to notify and require employers to make required
 contributions or show cause why they are prevented from making them. The head of an agency, the
 mayor of a municipality or the head of a public corporation that is a participating employer and does not
 comply with these requests is guilty of a felony punishable by imprisonment.


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